       Case 3:20-cv-00301-BSM-BD Document 4 Filed 10/07/20 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            NORTHERN DIVISION

HERMAN H. LEFORS, JR,
#562195                                                                     PLAINTIFF

V.                         CASE NO. 3:20-CV-301-BSM-BD

KEITH BOWERS                                                             DEFENDANT
                                        ORDER

      Plaintiff Herman H. LeFors, Jr. has stated constitutional claims against Defendant

Bowers for purposes of screening. (Doc. No. 2) Accordingly, the Clerk of Court is

directed to prepare a summons for Defendant Bowers. The United States Marshal is

directed to serve Defendant Bower with the summons and a copy of the Complaint, with

any attachments (Doc. No. 2), without requiring prepayment of fees and costs or security.

Service for Defendant Bowers should be attempted at the Craighead County Sheriff=s

Department, 901 Willet Road, Jonesboro, Arkansas 72401.

      IT IS SO ORDERED, this 7th day of October, 2020.


                                             ___________________________________
                                             UNITED STATES MAGISTRATE JUDGE
